                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

ESTATE OF ROBERT F. STRONG, JR.,             )
by and through Personal Representative       )
Karina A. Strong,                            )
                                             )
               Plaintiff,                    )
                                             )
v.                                           )       2:15 cv 04265-NKL
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
               Defendant.                    )

                                             ORDER

       On February 7, 2018, United States Magistrate Judge Willie J. Epps, Jr. recommended

that Plaintiff’s motion for approval of settlement be granted. Review of the record has convinced

the Court that the recommendation of the Magistrate Judge is correct and should be adopted.

The Court therefore orders as follows: the Report and Recommendation of February 7, 2018

(Doc. 131) is adopted; Plaintiff’s motion for approval of settlement (Doc. 127) is granted; and

Plaintiff’s claims are dismissed with prejudice, consistent with the foregoing.



                                                     s/ Nanette K. Laughrey
                                                     NANETTE K. LAUGHREY
                                                     United States District Judge

Dated: February 9, 2018
Jefferson City, Missouri




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